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                            UN ITED STA TES DISTR ICT C O U R T
                            SO U TH ER N D ISTR ICT O F FL O R ID A

                         CASE NO. 19-20442-CR-M ORXNO/LOVIS
  UNITED STA TES OF AM ERICA

  VS.

  BRUNELLA ZUPPONE,

                               D efendant.
                                             /

                                     PLEA A G REEM EN T

        TheUnitedStatesAttorney'sOfficefortheSouthernDistrictofFlorida(lGthisOftice''land
  (hereinafterreferredtoastheççdefendanf')enterintothefollowingagreement:
            The defendantagreesto plead guilty to Cotm t 1 ofthe indictm ent, w hieh charges the

  defendant,BRUNELLA ZUPPONE,w ith illegally exporting defense articleswithouta license,

  in violation ofTitle 21,United States Code,Section 2778,and Title 22,Code ofFederal
  Regulations,Sections 121.1,123.1,and 127.1.

            This Office agrees to seek dism issal of counts 2-3 of the indictm ent, as to this

  defendant,aftersentencing.

        3. Thedefendantisaw arethatthesentencewillbeimposedbytheCourtaftereonsidering

 the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter çssentencing
 Guidelines'). The defendant acknowledges and understandsthatthe Courtwillcompute an
 advisory sentence underthe Sentencing Guidelines and thatthe applicable guidelines willbe

 determ inedby theCourtrelyinginpartontheresultsofam e-sentenceinvestigation by theCourt's

 probation office,w hich investigation w illcom m ence afterthe guilty plea hasbeen entered. The

 defendantisalso aw are that,tm dercertain circum stances,the Courtm ay departfrom the advisory
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  senteneing guidelinerange thatithascomputed,and may raise orlowerthatadvisory sentence

  underthe Sentencing Guidelines. Thedefendantisfurtherawareand understandsthatthe Court

  isrequired to considertheadvisory guideline range determinedtmderthe Sentencing Guidelines,

  butisnotbound to im pose a sentence w ithin thatadvisory range;the Cotlrtisperm itted to tailor

  theultimate sentence in lightofotherstatutory concerns,and such sentence m ay be eithermore

  severe or less severe than the Sentencing G uidelines'advisory range. Know ing these facts, the

  defendanttmderstandsand acknowledgesthatthe Courthastheauthority to imposeany sentence

  within and up tothestatutory maximum autholizedby law forthe offenseidentified in paragraph

  1and thatthedefendantmay notwithdraw theplea solely asaresultofthesentence imposed.

             The defendant also understands and acknow ledges that the Court m ay im pose a

 statutorymaximtunterm ofimprisonmentofuptofive(5)years,followedbyaterm ofsupervised
 releaseofuptothree(3)years. lnadditiontoaterm ofimprisonmentandsupervisedrelease,the
 Courtm ay imposeafineofup to $250,000 and m ay orderforfeitm e.
            Thedefendantfurtherunderstandsand acknowledgesthat,in addition to any sentence

 imposed under paragraph 4 of this agreement, a specialassessment in the nm otmt of $100
 willbe imposed on the defendant. The defendant agrees thatany special assessm ent im posed

 shallbe paid atthe tim e of sentencing. lf a defendantis financially unable to pay the special

 assessm ent,the defendant agrees to present evidence to this O ffice and the Courtatthe tim e of

 sentencing asto the reasonsforthe defendant'sfailtlre to pay.

        6. This Office reservesthe rightto inform the Courtand the probation office ofa11facts

 pertinent to the sentencing process,including a1l relevant infonnation concerning the offenses

 com m itted, w hether charged or not, as w ell as concerning the defendant and the defendant's

 backgrotmd. Subjectonlytotheexpresstermsofanyagreed-upon sentencingrecommendations
                                                2
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  contained in thisagreem ent,thisOffice furtherreservestherightto m akeany recomm endation as

  to thequalityand quantity ofp lnishment.

            The defendantis aw arethatthe sentenee hasnotyetbeen determ ined by the Court.

  Thedefendantalso isaw arethatany estimateoftheprobable sentencingrangeorsentencethatthe

  defendantmayreceive,whethe/thatestimatecom esfrom the defendant'sattorney,thisOffice,or

  the probation office,is aprediction,nota prom ise,and isnotbinding on this Office,theprobation

  oftice orthe Court.The defendanttmderstands fur-therthatgny recom mendation thatthis Office

 m akestothe Courtasto sentencing,w hetherptlrsuantto thisagreem entorotherwise,isnotbinding

  on the Cotu'tand the Courtm ay disregard the recomm endation in its entirety. The defendant

 understands and acknow ledges, as previously acknow ledged in paragraph 3 above, that the

 defendantm ay notw ithdraw the plea based upon the Court's decision notto accepta sentencing

 recommendation madeby thedefendant,thisOffice,orarecommendation madejointly by the
 defendl tand thisOffice.
                This Oftice agrees thatitw illrecom m end at sentencing that the Courtreduce by

 twb levelsthe sentencing guideline levelapplicableto the defendant's offense,pursuantto Section

 3E1.1(a)ofthe Sentencing Guidelines,based upon thedefendant'srecognition and affinnative
 and tim ely acceptance of personal responsibility. If at the tim e of sentencing the defendant's

 offense level is determ ined to be 16 or greater, this O ffice w ill tile a m otion requesting an

 additionaloneleveldecreasepursuantto Section 3E1.1(b)oftheSentencingGuidelines,stating
 that the defendant has assisted authorities in the investigation or prosecution ofthe defendant's

 own m isconduct by tim ely notifying authorities of the defendant's intention to enter a plea of

 guilty, thereby pennitting the governm ent to avoid preparing for trial and perm itting the

 governm ent and the Courtto allocate their resources efficiently. This Office further agrees to
                                                3
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  recommendthatthe defendantbe sentenced atthe1ow end oftheguidelinerange,asthatrangeis

  determinedbytheCourt. ThisOffice,however,willnotberequiredto makethism otion and this

  recommendation if the defendant:(1)fails orrefusesto make a 111,accurate and complete
  discloslzreto theprobation office ofthecircumstances sunotm ding therelevantoffenseconduct;

  (2)is fotmd to have misrepresented factsto the governmentprior to entering into this plea
  agreement'
           ,or(3)commitsanymiscondud afterenteringinto thispleaagreement,includingbut
  notlim ited to com m itting a state orfederaloffense,violating any tenn ofrelease,orm aking false

  statem ents orm isrepresentations to any governm entalentity orofficial.

         9.      The defendant agrees that she shall cooperate fully with this Office by:(a)
  providingtruthflllandcompleteinform ation andtestim ony,andproducingdocmnents,recordsand

  otherevidence,when calleduponbythisOftk e,whetherin interviews,beforeagrandjmy,orat
  anytrialorotherCourtproceeding;(b)appearingatsuch grandjuryproceedings,hearings,trials,
  and otherjudicialproceedings,and atmeetings,asmay berequired by thisOffice;and (c) if
  requested by this Office, w orking in an tm dercover role tm der the supervision of, and in

  com pliance with,law enforcem entofficersand agents. ln addition,the defendantagreesthatshe

  willnotprotectanyperson orentitythrough falseinformation oromission,thathewillnotfalsely

  im plicate any person orentity,and thathe thathe w illnotcom m itany further crim es.

         10.     This O ffice reserves the rightto evaluate the nature and extentofthe defendant's

  cooperation atld to m ake that cooperation,or lack thereof,known to the Court at the tim e of

  sentencing. Ifin thesoleandum eviewablejudgmentoftlzisOfficethedefendant'icooperation
  is ofsuch quality and sigrtificance to the investigation orprosecution ofother crim inalm atters as

  to w arrantthe Court's downw ard departuze from the advisory sentencing range calculated tm der

  the Sentencing Guidelines and/or any applicable m inim um m andatory sentence,tlzis Oftice m ay
                                                  4
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  m ake a m otion priorto sentencing pursuantto Section 5K 1.1 ofthe Sentencing Guidelinesand/or

  Title18,United StatesCode,Section 3553($,orsubsequentto sentencingpursuanttoRule35of
  the FederalRules of CriminalProcedtzre,informing the Courtthatthe defendanthasprovided

  substantial assistance and recomm ending that the defendant's sentence be reduced.         The

  defendantunderstandsand agrees,however,thatnothing in thisagreem entrequiresthisOfficeto

  file any such motions,and thatthis Office's assessm entofthe quality and significance ofthe

  defendant'scooperation shallbe binding asitrelatesto theappropriatenessofthisOffice'sfiling

  ornon-tiling ofa m otion to reduce sentence.

                Thedefendanturiderstandsand acknowledgesthattheCourtisundernoobligation

  to granta m otion forreduction ofsentence filed by this Office. ln addition,the defendantfurther

  tmderstands alld acknowledgesthatthe Courtis tmderno obligation ofany type to reduce the

  defendant'ssentencebecauseofthedefendant'scooperation.

         12.    The defendant agrees,in an individualand any other capacity,to forfeitto the

  United States,voltmtarily and imm ediately,any right,title,and interestto any property,realor

 personal,which constitutesorisderivedfrom proceedstraceabletothecom m ission oftheoffense,

  in violation of22 U.S.C.j2778,pttrsuantto 18 U.S.C.j981(a)(1)(C),asincorporated by 28
 U.S.C.j2461(c),andtheprovisionsof21U.S.C.j 853,
                                               .and any arm ormunitionofwar,other
 article orcom modity,and any vessel,vehicle,oraircraftcontaining the sam eorwhich hasbeen

 orisbeingusedinexportingorattemptingtoexportsame,pursuantto22U.S.C.j401.lnaddition,
 the defendantagreesto forfeiture ofsubstituteproperty ptlrsuantto 21U.S.C.j 853û9. The
 propertysubjed toforfeitureincludes,butisnotlimitedto:Fifteen (15)AR BoltCarrierGroups,
 Twenty (20)AR GasTubes,Ten (10)AR ForwardAssistAssemblies,Eleven (11)AR Trigger
 Kits,Ten (10)AR UpperReceivers,Twenty (20)AR LowerReceivers,Eleven (11)AR Pistol
                                                 5
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  Grips,Five(5)AR 5:56NATO 1:7RifleBarrels,Fifteen (15)AR BoltCarrierGroups,Twenty
  (20)AR GasTubes,Ten (10)AR ForwardAssistAssemblies,Ten(10)AR TriggerKits,Ten(10)
  AR UpperReceivers,Twenty(20)AR LowerReceivers,Ten(10)AR PistolGrips,Five(5)AR
  5:56 NATO 1:7 RifleBarrels,Twenty (20)TriggerKitswith PistolGrips,Three (3)Barrels,
  TwentpFive(25)M uzzleBrakes,Twenty (20)ForwardAssists,One(1)Charging Handle,Two
  (2)CarbineRecoilPlates,One(1)FrontGrip(W ood),One(1)RearSightAperture,Two(2)Butt
  Plates,Ten(10)BoltCarriers,Nineteen (19)Ejection PortCovers,Fifteen(15)GasTubes,Eight
  (8)Accessories,Twenty-Nine(29)N/A M agazines,Twenty(20)TriggerKitsW ithPistolGRIPS,
  Twenty-Five(25)M tlzzleBrakes,Ten(10)BoltCaniers,Three(3)Barrels,Forty--
                                                                         fllree(43)N/A
  M agazines,Sixty (60) N/A ltifle Lowers, Sixty (60) N/A Rifle Uppers,Twenty-Five (25)
  Buttstocks,Fortpone(41)Barrels,Eightp one(81)7.62M agazines,Eighteen (18)AR-15Bolt
  CanierGroups,Twenty (20)CastleNuts,Twenty (20)AR15ForwardAssists,Tllirty--fhree(33)
  W ashers,Twenty(20)GasTubes,Forty-one(41)AR15Ejection PortDustCovers,Twenty(20)
  Grips,Sixty(60)ChargingHandles,Fifty (50)GasTubeRings,One(1)X-22Backpackersfor
  Ruger,Sixty (60)GasTubeCormectors,Twenty (20)BufferTubes,One(1)ZEV PRO Trigger,
  Three (3)AntiqueKnives,Three (3)AR15UpperHand Guards,Two (2)ZEV Sights,One (1)
  9mm Slide,Ten(10)buffers,Five(5)9mm magazines,One(1)1omm magazines,Seven (7).45
  magazines, Two (2) .308 magazines, Six (6) N/A Antique Gunsm o Serial Nllmbersm on
  Serializedm oM arkings,Eleven(11)AR15UpperReceivers/No Serial#'s,Eleven (11)Barrels,
  Eleven(11)Buttstocks,Eleven(11)BoltCarrierGroups,Twenty(20)UpperHandGuards,Eleven
  (11)BufferTubeSprings,One(1)RedDotSight,One(1)BulletM old,One(1)FiberOpticSight,
  Two (2)TriggerGuards,Sixteen (16)Extractors,Eleven (11)Charging Handles,Eleven (11)
  BufferTubes,Two(2)ArmorerGlasses,One(1)15mm Bit,Fotzr(4)N/A lomm Ammo,Five(5)
                                           6
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  N/A .380Ammo.,Tlu'ee(3)N/A 9n).
                                m Ammo,Three(3)N/A .357Ammo,Six(6)N/A 45Caliber
  Ammo,Two(2)N/A 7.62M agazines,andFifteen (15)9mm M agazines.
                 Thedefendantfurtheragreesthatforfeitureisindependentofany assessment, fine,

  cost,restitution, or penalty that m ay be im posed by the Court.The defendant know ingly and

  voltmtarily agrees to w aive all constitutional,legal,and equitable defenses to the forfeiture,

  including excessive tines under the Eighth Am endment to the United States Constitution. ln

  addition,the defendantagreesto waiveany applicabletimelirnitsforadministrative orjudicial
  forfeitureproceedings,therequirementsofFed.R.Crim.P.32.2and43(a),andanyappealofthe
  forfeiture.

         14.     The defendantalso agreesto fully andtnlthfully disclosetheexistence,natureand

  location ofallassetsin which the defendanthasorhad any dired orindired financialinterestor

  control,and any assets involved in the offense of conviction. The defendantalso agrees to take

  al1stepsrequested by the United Statesfortherecovery and forfeitureofal1assetsidentified by

  theUnitedStatesassubjecttoforfeiture. Thisincludes,butisnotlimitedto,thetimelydelivery
  upon requestofa1lnecessary and appropriate docum entation to delivergood alld m arketabletitle,

  consenting to a1lordersofforfeittlre,and notcontesting orim peding in any w ay w ith any crim inal,

  civiloradm inistrative forfeiture proceeding concerning the forfeiture.

                The defendantis aw are that Title 28,U nited States Code,Section 1291 and Title

  18,United StatesCode,Section 3742 afford thedefendanttherightto appealthe sentenceim posed

 in this case. Acknow ledging this,in exchange forthe undertnkings m ade by the United States in

 thisplea agreem ent,the defendanthereby w aives allrights confen'ed by Sections 1291 and 3742

 to appealany sentence im posed,including any restittztion order,orto appealthem annerin which

 the sentence wasim posed,unlessthe sentence exceedsthem axim um perm itted by statuteoristhe
                                                  7
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  resultof an upw ard departure and/or an upw ard variance from the advisory guideline range that

  the Courtestablishes at sentencing. The defendant further tmderstands that nothing in this

  agreem entshallaffectthegovernm ent'srightand/orduty toappealassetforth in Title 18,United

  StatesCode,Section 37421)and Title28,United StatesCode,Section 1291. However,ifthe
  United States appeals the defendant's sentence ptlrsuantto Sections 37421) and 1291,the
  defendantshallbereleased from theabovewaiverofhisrightto appealhissentence.

         16.    Thedefendantfurtherhereby waivesal1rightsconferred by Title28,United States

  Code,Section 1291toassertanyclaim that(1)thestatm etowhichthedefendantispleadingguilty
  isunconstitutional;and/or(2)theadmittedconductdoesnotfallwithinthescopeofthestamteof
  conviction.

                By signing this agreem ent,the defendant acknowledges that the defendant has

 discussed the appeal w aiver set forth in this ap eem ent w ith the defendant's attorney. The

 defendantfurtheragrees,togetherwiththisOffice,torequestthattheCourtentera specificfinding

 thatthe defendant'sw aiver ofhisrightto appealthe sentence im posed in thiscase and hisrightto

 appealhisconviction in them anner described above w as know ing and voluntary.

                D efendantrecognizesthatpleading guilty m ay have consequences w ith respectto

 the defendant's imm igration stat'us ifthe defendantisnota citizen ofthe United States. Under

 federallaw,abroad range ofcrimes are removable offenses,including the offense to wllich
 defendantispleading guilty. lndeed,because defendantispleading guilty to Count1,rem ovalis

 presllmptively mandatory. Removaland otherimmigration consequences arethe subjectofa
 sepazate proceeding,how ever,and defendant understands thatno one,including the defendant's

 attorney orthe Court,can predictto a certainty the effectofthe defendant's conviction on the

 defendant'sim m igration status. D efendantneverthelessaffirm sthatthe defendantw antsto plead
                                                8
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  guilty regardlessofany im migration consequencesthatthe defendant'splea m ay entail, even if

  the consequence isthedefendant'sautom aticrem ovalfrom theUnited States.

                Thisistheentireagreementandlm derstandingbetweenthisOfficeandthedefendant.

 Thereareno otheragreem ents,prom ises, representations,orunderstandings.


                                                 AR IANA FA JAR D O OR SI'
                                                                         IAN
                                                 UNITED STV E           ORNEY
                                                           Z
 Date: ç - 7-                        By:
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                                                 A SST.UN ITED STA TES A TTORN EY
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                                     By:
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